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                            NUMBER 13-14-00136-CR

                              COURT OF APPEALS

                        THIRTEENTH DISTRICT OF TEXAS

                          CORPUS CHRISTI - EDINBURG


Joe Torres, Appellant,

                                     v.

The State of Texas,    Appellee.

                   On appeal from the 28th District Court
                          of Nueces County, Texas.

                                  O R D E R

                Before Justices Garza, Benavides, and Perkes
                              Order Per Curiam

      Appellant, Joe Torres, has filed a notice of appeal  with  this  Court
from his conviction in trial court  cause  number  12-CR-4051-A.  The  trial
court's certification of the defendant's right  to  appeal  shows  that  the
defendant does  not  have  the  right  to  appeal.   See  Tex.  R.  App.  P.
25.2(a)(2).  The Texas Rules of Appellate Procedure provide that  an  appeal
must be dismissed if a certification showing that a defendant  has  a  right
of appeal is not made a part of the record.  Tex. R. App.  P.  25.2(d);  see
Tex. R. App. P. 37.1, 44.3, 44.4.
      Within thirty  days  of  receipt  of  this  notice,  appellant's  lead
appellate counsel, Steve Schiwetz, is  hereby  ORDERED  to:  1)  review  the
record; 2) determine whether  appellant  has  a  right  to  appeal;  and  3)
forward  to  this  Court,  by  letter,  counsel's  findings  as  to  whether
appellant has a  right  to  appeal  and/or  advise  this  Court  as  to  the
existence of any amended certification.
      If appellant's counsel  determines  that  appellant  has  a  right  to
appeal, counsel is further ORDERED to file a motion with this  Court  within
thirty  days  of  receipt  of  this  notice,  identifying   and   explaining
substantive reasons why appellant has a right to appeal.  See Tex.  R.  App.
P. 44.3, 44.4; see also, e.g., Carroll v. State,  No.  04-03-00473-CR,  2003
Tex.  App.  LEXIS  7317  (San  Antonio  2003,  no  pet.)   (designated   for
publication) (certification form provided in  appendix  to  appellate  rules
may be modified  to  reflect  that  defendant  has  right  of  appeal  under
circumstances not addressed by  the  form).   The  motion  must  include  an
analysis of the applicable case law, and  any  factual  allegations  therein
must be true and supported by the record.  Cf. Woods v.  State,  108  S.W.3d
314,  316  (Tex.  Crim.  App.  2003)  (construing  former   appellate   rule
25.2(b)(3) and holding that recitations in the  notice  of  appeal  must  be
true and supported by the record).  Copies of record documents necessary  to
evaluate the alleged error in the certification affecting appellant's  right
to appeal shall be attached to the motion.  See Tex. R. App. P. 10.1, 10.2.
                                              PER CURIAM
Do not publish. Tex. R. App. P. 47.2(b).
Delivered and filed the 3rd day of March 2014.
